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6     Attorney for Plaintiff
7
                          UNITED STATES DISTRICT COURT
8
                         CENTRAL DISTRICT OF CALIFORNIA
9
      LISA GONZALEZ,             ) Case No. 5:14-cv-02224-BRO-DTB
10
                                 )
11    Plaintiff(s)               ) NOTICE OF SETTLEMENT
12                               )
             vs.
                                 )
13
                                 )
      WILSHIRE CONSUMER CREDIT,
14                               )
      Defendant.                 )
15
                                 )
16           NOW COMES THE PLAINTIFF by and through her attorney to
17
      respectfully notify this Honorable Court that this case has settled. Plaintiff
18

19    requests that this Honorable Court vacate all pending hearing dates and allow
20
      sixty (60) days with which to file dispositive documentation. A Voluntary Notice
21

22
      of Dismissal will be forthcoming. This Court shall retain jurisdiction over this

23    matter until fully resolved.
24
                                Respectfully submitted this 23rd day of December, 2014.
25

26                                         By: s/Todd M. Friedman
27
                                              TODD M. FRIEDMAN
                                              Law Offices of Todd M. Friedman, P.C.
28                                            Attorney for Plaintiff



                                       Notice of Settlement - 1
     Case 5:14-cv-02224-BRO-DTB Document 12 Filed 01/22/15 Page 2 of 2 Page ID #:41



1     Filed electronically on this 22nd day of January, 2015, with:
2
      United States District Court CM/ECF system
3

4     Notification sent electronically via the Court’s ECF system to:
5
      Honorable Judge Beverly Reid O'Connell
6     United States District Court
7     Central District of California
8
      And sent via mail to:
9
      Wilshire Consumer Credit
10
      4751 Wilshire Blvd., #100A
11    Los Angeles, CA 90010
12
      This 22nd day of January, 2015.
13

14    s/Todd M. Friedman
      Todd M. Friedman
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                                        Notice of Settlement - 2
